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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )      Case No.: 0912375 NE22
                                          )           8:12CB6
                     Plaintiff,           )
                                          )
       vs.                                )                ORDER
                                          )
ANTHONY R. SCHAFFART,                     )
                                          )
                     Defendant.           )



       IT IS ORDERED:

       Defendant is granted an extension of time until August 28, 2012, in which to pay the

collateral amount due of $175.00. The full collateral amount is payable in full by that date

or the defendant must appear for hearing before the undersigned magistrate judge on

August 28, 2012 at 9:00 a.m. in Courtroom No. 7, Second Floor, Roman L. Hruska United

States Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The clerk will mail a copy

of this order to Anthony R. Schaffart at his address of 5753 North 80th Street, Omaha,

Nebraska 68134.

       DATED this 8th day of August, 2012.


                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
